                                        JONATHAN SKRMETTI
                                    ATTORNEY GENERAL AND REPORTER


                                   P.O. BOX 20207, NASHVILLE, TN 37202
                                         TELEPHONE (615)741-3491
                                          FACSIMILE (615)741-2009



                                            May 3, 2024

 VIA EMAIL AND CERTIFIED MAIL
 Heather Moore Collins
 Ashley Walter
 HMC Civil Rights Law, PLLC
 7000 Executive Cetner Dr. Suite 320
 Brentwood, TN 37027
 heather@hmccivilrights.com
 ashley@hmccivilrights.com


 RE:    B.P., et al., v. City of Johnson City, TN, et al., No. 2:23-cv-00071 (E.D. Tenn)
        Subpoena to District Attorney General Steven Finney

 Dear Ms. Collins and Ms. Walter:

        I represent non-party District Attorney General Steven Finney regarding a subpoena you
 have issued for him to appear and testify in the above-referenced matter on July 17, 2024.
 Respectfully, General Finney objects to the subpoena under Fed. R. Civ. P. 26(b), 45(d). Any
 information General Finney has about ongoing criminal investigations is protected under law
 enforcement privilege and the deliberative process privilege. United States v. Se. Eye Specialists,
 PLLC, 586 F. Supp. 3d 787, 793 (M.D. Tenn. 2022).

         Further, a testimonial subpoena to a district attorney general may not be used to circumvent
 the protections of criminal investigative files. See The Tennessean v. Metro Gov't of Nashville of
 Davidson Cnty, 485 S.W.3d 857 (Tenn. 2016); see also Sutton v. State, No. 03C01-9702-CR-
 00067, 1999 WL 423005, at *6 (Tenn. Crim. App. June 25, 1999); Tenn. Op. Atty. Gen. No. 18-
 07 (Mar. 8, 2018). Finally, any information General Finney has about ongoing criminal
 investigations and/or victims of sexual assault is confidential. Johnson v. CoreCivic, Inc., No. 18-
 CV-01051-STA-TMP, 2019 WL 2158239, at *2 n.2 (W.D. Tenn. Apr. 3, 2019).


                                                                Sincerely,

                                                                s/Liz Evan



Case 2:23-cv-00071-TRM-JEM Document 203-4 Filed 05/31/24 Page 1 of 2 PageID #:
                                   4213
                                                                                                    4
                                               ELIZABETH EVAN (BPR 37770)
                                               Assistant Attorney General
                                               Law Enforcement and
                                               Special Prosecutions Division
                                               Office of the Attorney General
                                               P.O. Box 20207
                                               Nashville, TN 37202-0207
                                               Phone: (615) 532-1600
                                               Liz.Evan@ag.tn.gov



 cc:
 Elizabeth A. Kramer & Kevin M. Osborne
 Erickson Kramer Osborne, LLP
 44 Tehama Street
 San Francisco, CA 94105
 elizabeth@eko.law
 kevin@eko.law
 (415) 635-0631

 Vanessa Baehr-Jones
 Advocates for Survivors of Abuse
 4200 Park Blvd. No. 413
 Oakland, CA94602
 vanessa@advocatesforsurvivors.com




Case 2:23-cv-00071-TRM-JEM Document 203-4 Filed 05/31/24 Page 2 of 2 PageID #:
                                   4214
